Case 8:24-cv-00388-DOC-KES   Document 1   Filed 02/23/24   Page 1 of 34 Page ID
                                   #:1
Case 8:24-cv-00388-DOC-KES   Document 1   Filed 02/23/24   Page 2 of 34 Page ID
                                   #:2
Case 8:24-cv-00388-DOC-KES   Document 1   Filed 02/23/24   Page 3 of 34 Page ID
                                   #:3
Case 8:24-cv-00388-DOC-KES   Document 1   Filed 02/23/24   Page 4 of 34 Page ID
                                   #:4
Case 8:24-cv-00388-DOC-KES   Document 1   Filed 02/23/24   Page 5 of 34 Page ID
                                   #:5
Case 8:24-cv-00388-DOC-KES   Document 1   Filed 02/23/24   Page 6 of 34 Page ID
                                   #:6
Case 8:24-cv-00388-DOC-KES   Document 1   Filed 02/23/24   Page 7 of 34 Page ID
                                   #:7
Case 8:24-cv-00388-DOC-KES   Document 1   Filed 02/23/24   Page 8 of 34 Page ID
                                   #:8
Case 8:24-cv-00388-DOC-KES   Document 1   Filed 02/23/24   Page 9 of 34 Page ID
                                   #:9
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 10 of 34 Page ID
                                   #:10
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 11 of 34 Page ID
                                   #:11
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 12 of 34 Page ID
                                   #:12
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 13 of 34 Page ID
                                   #:13
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 14 of 34 Page ID
                                   #:14
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 15 of 34 Page ID
                                   #:15
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 16 of 34 Page ID
                                   #:16
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 17 of 34 Page ID
                                   #:17
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 18 of 34 Page ID
                                   #:18
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 19 of 34 Page ID
                                   #:19
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 20 of 34 Page ID
                                   #:20
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 21 of 34 Page ID
                                   #:21
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 22 of 34 Page ID
                                   #:22
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 23 of 34 Page ID
                                   #:23
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 24 of 34 Page ID
                                   #:24
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 25 of 34 Page ID
                                   #:25
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 26 of 34 Page ID
                                   #:26
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 27 of 34 Page ID
                                   #:27
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 28 of 34 Page ID
                                   #:28
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 29 of 34 Page ID
                                   #:29
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 30 of 34 Page ID
                                   #:30
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 31 of 34 Page ID
                                   #:31
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 32 of 34 Page ID
                                   #:32
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 33 of 34 Page ID
                                   #:33
Case 8:24-cv-00388-DOC-KES   Document 1 Filed 02/23/24   Page 34 of 34 Page ID
                                   #:34
